 Case 4:20-cv-00275-SDJ Document 22 Filed 09/20/22 Page 1 of 2 PageID #: 314
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                                                             By Nakisha Love at 9:42 am, Sep 20, 2022
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                 U.S. ex rel. Handloser v. Infosys Limited
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                                                                  VWDWH RQBBBBBBBBBBBBBBBBBBBBB     GDWH 
 $SSOLFDQWLVLQJRRGVWDQGLQJDQGLVRWKHUZLVHHOLJLEOHWRSUDFWLFHODZEHIRUHWKLVFRXUW
 $SSOLFDQWLVQRWFXUUHQWO\VXVSHQGHGRUGLVEDUUHGLQDQ\RWKHUFRXUW
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                   has has not                                                                                    SOHDVH
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                                  not                                                                      SOHDVHFLUFOH 
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 $SSOLFDQW has    EHHQGLVFLSOLQHGE\DFRXUWRU%DU$VVRFLDWLRQRUFRPPLWWHHWKHUHRIWKDWZRXOG
                             has not
UHIOHFWXQIDYRUDEO\XSRQDSSOLFDQW¶VFRQGXFWFRPSHWHQF\RUILWQHVVDVDPHPEHURIWKH%DU SOHDVH
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 'HVFULEHLQGHWDLORQDVHSDUDWHSDJHDQ\FKDUJHVDUUHVWVRUFRQYLFWLRQVIRUFULPLQDORIIHQVH V ILOHG
DJDLQVW\RX2PLWPLQRUWUDIILFRIIHQVHVDQGPLVGHPHDQRURIIHQVHVFRPPLWWHGSULRUWRDJH (See Page 3)
 7KHUHDUHQRSHQGLQJJULHYDQFHVRUFULPLQDOPDWWHUVSHQGLQJDJDLQVWWKHDSSOLFDQW
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             Maria Sofia Downham
         ,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBGRVROHPQO\VZHDU             RUDIILUP WKDWWKH
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                     Application Continued on Page 2
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                                                                       'HSXW\&OHUN




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and    Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email    from the clerk before filing your                  Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
